      Case 1:25-cv-00072        Document 37      Filed on 04/16/25 in TXSD        Page 1 of 1
                                                                                     United States District Court
                                                                                       Southern District of Texas

                                                                                          ENTERED
                               UNITED STATES DISTRICT COURT                               April 16, 2025
                                SOUTHERN DISTRICT OF TEXAS                             Nathan Ochsner, Clerk
                                   BROWNSVILLE DIVISION

J.A.V., et al.,                                  §
                                                 §
         Petitioners,                            §
                                                 §
VS.                                              §   CIVIL ACTION NO. 1:25-CV-072
                                                 §
DONALD J. TRUMP, et al.,                         §
                                                 §
         Respondents.                            §

                                            ORDER

        The Court has established a schedule for Petitioners’ Motion for a Preliminary Injunction

and related briefing. (See TRO, Doc. 34, 4) In connection with that briefing schedule, it is:

        ORDERED that the Motion for Preliminary Injunction shall be no longer than 35 pages;

        ORDERED that the Response shall be no longer than 35 pages; and

        ORDERED that the Reply shall be no longer than 12 pages.

        The page limits do not include the cover page, table of contents, table of authorities,

signature page, or exhibits.

        Signed on April 16, 2025.


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                                                     Fernando Rodriguez, Jr.
                                                     United States District Judge
